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                                    EXHIBIT A


                                 Proposed Sale Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 7
IPwe, Inc.,                                             Case No. 24-10078 (CTG)
                              Debtor.                   Related D.I.: 87, 107 and ___



       ORDER AUTHORIZING AND APPROVING (I) THE SALE OF THE DEBTOR’S
       ASSETS FREE AND CLEAR OF LIENS, CLAIMS, RIGHTS, ENCUMBRANCES,
          AND OTHER INTERESTS, (II) ASSUMPTION AND ASSIGNMENT OF
           CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                          AND (III) RELATED RELIEF

           Upon consideration of the Motion of George L. Miller, Chapter 7 Trustee, for Entry of:

(A) an Order (I) Approving Bid Procedures in Connection with the Sale of the Debtor’s Purchased

Assets, (II) Scheduling an Auction for and Hearing to Approve Sale, (III) Approving Notice of

Auction and Sale Hearing, (IV) Approving Procedures for the Assumption and Assignment of

Certain Executory Contracts and Unexpired Leases, (V) Approving Form and Manner of Notice

Thereof, and (VI) Granting Related Relief; and (B) an Order Authorizing and Approving (I) the

Sale of the Debtor’s Purchased Assets Free and Clear of Liens, Claims, Rights, Encumbrances,

and Other Interests, (II) Assumption and Assignment of Certain Executory Contracts and

Unexpired Leases and (III) Related Relief (the “Sale Motion”) [D.I. 87]1 filed by George L. Miller,

chapter 7 trustee (the “Trustee”) to the estate of the above-captioned debtor, (the “Debtor”) which

requests an order (this “Sale Order”) (a) authorizing and approving the Trustee’s entry into an asset

purchase agreement with the Successful Bidder or Next-Highest Bidder, (b) authorizing the Sale

of the Assets to the party or parties that are the Successful Bidder or Next-Highest Bidder at the

Auction, free and clear of all claims and encumbrances, except for certain assumed liabilities,


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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Sale Motion.
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(c) authorizing and approving the assumption and assignment of certain executory contracts in

connection with the Sale, including proposed cure amounts (if any), and (d) granting related relief;

and the Court having entered the Bid Procedures Order on May 23, 2024 [D.I. 97]; and the Auction

having been held on July 18, 2024, in accordance with the Bid Procedures; and the Trustee having

selected Urbana Partners, LLC (the “Purchaser”) as the Successful Bidder and the Granicus IP,

LLC as the Next-Highest Bidder; and the Sale Hearing having been held on July 29, 2024; and the

Trustee having executed that Asset Purchase Agreement between the Trustee and Urbana Partners,

LLC (the “Purchaser”), which, including all exhibits and schedules thereto, and as may be

amended, modified or supplemented in accordance with its terms and this Sale Order, is referred

to herein as the “Agreement” (a complete copy of which is attached hereto as Exhibit 1), effective

as of the Closing on the Closing Date; and this Court having reviewed and considered the Sale

Motion and any objections thereto; this Court having heard statements of counsel and the evidence

presented in support of the relief requested by the Trustee in the Sale Motion at the Sale Hearing,

and any other declarations from the Trustee in support of the relief herein; and upon the full record

of this Chapter 7 Case; and it appearing no other notice need be given; and it further appearing the

legal and factual bases set forth in the Sale Motion and the record made at the Sale Hearing

establish just cause for the relief granted herein; and after due deliberation and sufficient cause

therefor:

       THE COURT FINDS AND DETERMINES THAT:

                      Jurisdiction, Final Order, and Statutory Predicates

       A.      The findings and conclusions set forth herein constitute the Court’s findings of fact

and conclusions of law pursuant to Rule 7052 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
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the extent any of the following findings of fact constitute conclusions of law, they are adopted as

such. To the extent any of the following conclusions of law constitute findings of fact, they are

adopted as such.

       B.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012.

       C.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). The

Trustee has confirmed his consent, pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

“Local Rules”), to the entry of a final order by this Court in connection with the Sale Motion, to

the extent it is later determined the Court, absent the consent of the parties, cannot enter final

orders or judgments consistent with Article III of the United States Constitution.

       D.      Venue over the Chapter 7 Case is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       E.      The bases for the relief requested in the Sale Motion are §§ 105(a), 363 and 365 of

title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Bankruptcy

Rules 2002, 6004, 6006, 9007, and 9014, and Local Rules 2002-1, 6004-1, and 9013-1(m).

       F.      This Sale Order constitutes a final and appealable order within the meaning of

28 U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent

necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as

made applicable by Bankruptcy Rule 7054, the Court expressly finds there is no just reason for

delay in the implementation of this Sale Order and waives any stay and expressly directs entry of

judgment as set forth herein.



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                                    Retention of Jurisdiction

       G.      It is necessary and appropriate for the Court to retain jurisdiction to, among other

things, interpret, implement, and enforce the terms and provisions of this Sale Order and the

Agreement, including its related documents, all amendments thereto and any waivers and consents

thereunder and each of the agreements executed in connection therewith to which the Trustee or

the Debtor is a party or which have been assigned to the Purchaser, and to adjudicate, if necessary,

any and all disputes involving the Trustee or the Debtor concerning or relating in any way to, or

affecting, the Sale (as defined in the Sale Motion) or the transactions contemplated in the

Agreement, and related documents.

                        Corporate Authority; Consents and Approvals

       H.      The Trustee has, to the extent necessary or applicable, the full corporate power and

authority to execute and deliver the Agreement and all other documents contemplated thereby. No

consents or approvals, other than those expressly provided for in the Agreement, are required for

Trustee to consummate the Sale, the Agreement, or the transactions contemplated thereby.

                               Notice of Sale, Sale Hearing,
                         Agreement, and Assumption and Assignment

       I.      Actual written notice of the Sale Motion, the Sale, the Sale Hearing, the Auction,

and the transactions contemplated thereby, and a reasonable opportunity to object or be heard with

respect to the Sale Motion and the relief requested therein, has been afforded to all known

interested entities and parties, including, without limitation, the following entities and parties:

(a) the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn:

Richard Schepacarter and Rosa Sierra-Fox; (b) counsel to the Purchaser, the DIP Facility Lender

and the Prepetition Secured Party; (c) any other parties with known secured claims against the


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Debtor or its counsel, if known; (d) any parties that executed an NDA; (e) the United States

Attorney’s Office for the District of Delaware; (f) the Internal Revenue Service; (g) all state and

local taxing authorities with an interest in the Purchased Assets; (h) the Attorney General for the

State of Delaware; (i) the Securities and Exchange Commission; (j) all other governmental

agencies with an interest in the Sale and transactions proposed thereunder; (k) all other parties

known or reasonably believed to have asserted an interest in the Purchased Assets; (l) any party

that has requested notice pursuant to Bankruptcy Rule 2002. See D.I. 87, 93, 95, and 100.

        J.      The Trustee has articulated good and sufficient reasons for this Court to grant the

relief requested in the Sale Motion upon the terms set forth herein.

        K.      The disclosures made by the Trustee concerning the Sale Motion, the Agreement,

the Sale Hearing and the Sale were good, complete, and adequate.

        L.      A reasonable opportunity to object and be heard with respect to the Sale and the

Sale Motion, and the relief requested therein, has been afforded to all interested persons and

entities, including the applicable notice parties.

                                         Business Judgment

        M.      The Trustee has demonstrated good, sufficient, and sound business purposes and

justifications for, and compelling circumstances to promptly consummate, the Sale and the other

transactions contemplated by the Agreement and related documents (together with the Agreement,

the “Transaction Documents”), pursuant to sections 105, and 363 of the Bankruptcy Code, and

such action is an appropriate exercise of the Trustee’s business judgment and in the best interests

of the Debtor’s estate and its creditors. Such business reasons include, but are not limited to, the

fact that: (i) there is substantial risk of depreciation of the value of the Purchased Assets if the Sale

is not consummated promptly; (ii) the Agreement and the Closing present the best opportunity to
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maximize the value of the Debtor’s estate; and (iii) unless the Sale is concluded expeditiously as

provided for in this Sale Order and pursuant to the Agreement, potential creditor recoveries may

be substantially diminished.

                          Good Faith of the Purchaser; No Collusion

       N.       The Purchaser is not an “insider” of the Debtor as that term is defined in section

101(31) of the Bankruptcy Code. The sale process engaged in by the Trustee, the Purchaser, and

the Next-Highest Bidder, including, without limitation, the Auction, which was conducted in

accordance with the Bid Procedures and the Bid Procedures Order, and the negotiation of the

Purchase Agreement, was at arm’s length, non-collusive, in good faith, and substantively and

procedurally fair to all parties in interest. The Purchaser is purchasing the Purchased Assets in

good faith and is a good faith buyer within the meaning of section 363(m) of the Bankruptcy Code,

and is therefore entitled to the full protection of that provision, and otherwise has proceeded in

good faith in all respects in connection with this proceeding in that: (i) all payments to be made by

the Purchaser and other agreements or arrangements entered into by the Purchaser in connection

with the Sale have been disclosed; (ii) the Purchaser has not violated 363(n) of the Bankruptcy

Code by any action or inaction; (iii) no common identity of directors or controlling shareholders

exists between the Purchaser, Trustee, and the Debtor; and (iv) the negotiation and execution of

the Agreement and any other agreements or instruments related thereto was at arm’s-length and in

good faith.

                               No Fraudulent Transfer or Merger

       O.       The consideration provided by the Purchaser pursuant to the Transaction

Documents: (a) is fair and reasonable; (b) is the highest and best offer for the Purchased Assets;

and (c) constitutes reasonably equivalent value and fair consideration under the Bankruptcy Code,
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the Uniform Fraudulent Transfer Act, the Uniform Fraudulent Conveyance Act, the laws of the

United States, any state, territory, possession, or the District of Columbia, and any other applicable

law.

       P.      Neither the Purchaser, nor its past and present subsidiaries, parents, divisions,

affiliates, agents, representatives, insurers, attorneys, successors and assigns, nor any of their

respective   directors,   managers,    officers,   employees,    shareholders,    members,     agents,

representatives, attorneys, contractors, subcontractors, independent contractors, owners, insurance

companies, or partners (collectively, the “Purchaser Parties”) is a mere continuation of the Debtor

or its estate, and there is no continuity of enterprise between any Purchaser Party and the Debtor.

No Purchaser Party is holding itself out to the public as a continuation of the Debtor or its estate.

No Purchaser Party is a successor to the Debtor or its estate, and the Sale does not amount to a

consolidation, merger, or de facto merger of the Purchaser (or any other Purchaser Party) and the

Debtor.

                                        Validity of Transfer

       Q.      The Transaction Documents were not entered into for the purpose of hindering,

delaying, or defrauding creditors under the Bankruptcy Code or under the laws of the United

States, any of its states, territories, or possessions, or the District of Columbia, or under any other

applicable law.    Neither the Trustee nor the Purchaser are entering into the transactions

contemplated by the Transaction Documents fraudulently, for the purposes of statutory and

common law fraudulent conveyance and fraudulent transfer claims.

       R.      Trustee’s right, title, and interest in the Purchased Assets constitute property of the

Debtor’s estate, which is vested within the meaning of section 541(a) of the Bankruptcy Code.

Subject to section 363(f) of the Bankruptcy Code (addressed below), the transfer of the Purchased
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Assets to the Purchaser will be, as of the Closing Date, a legal, valid, and effective transfer of the

Purchased Assets, which transfer vests or will vest the Purchaser with all right, title, and interest

in the Purchased Assets free and clear of: (i) all liens (including any liens as that term is defined

in section 101(37) of the Bankruptcy Code), encumbrances, and rights (including any and all

“interests” in the Purchased Assets within the meaning of section 363(f) of the Bankruptcy Code)

relating to, accruing, or arising any time prior to the Closing Date (collectively, the “Liens”); and

(ii) all debts (as that term is defined in section 101(12) of the Bankruptcy Code) and rights

(including any and all “interests” in the Purchased Assets within the meaning of section 363(f) of

the Bankruptcy Code) arising under, relating to, or in connection with any act of the Trustee or

Debtor or claims (as that term is defined in section 101(5) of the Bankruptcy Code), liabilities,

obligations, demands, guaranties, options in favor of third parties, rights, contractual

commitments, restrictions, interests, mortgages, hypothecations, charges, indentures, loan

agreements, instruments, collective bargaining agreements, leases, licenses, deeds of trusts,

security interests or similar interests, conditional sale or other title retention agreements and other

similar impositions, restrictions on transfer or use, pledges, judgments, claims for reimbursement,

contribution, indemnity, exoneration, infringement, products liability, alter ego liability, suits,

defenses, credits, allowances, options, limitations, causes of action, choses in action, rights of first

refusal or first offer, rebate, chargeback, credit, or return, proxy, voting trust or agreement or

transfer restriction under any shareholder or similar agreement or encumbrance, easements, rights

of way, encroachments, any Liability (as defined in the Transaction Documents), and matters of

any kind and nature, whether arising prior to or subsequent to the Petition Date, whether known

or unknown, legal or equitable, mature or unmatured, contingent or noncontingent, liquidated or

unliquidated, asserted or unasserted, whether imposed by agreement, understanding, law, equity,
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or otherwise (including, without limitation, rights with respect to Claims (as defined below) and

Liens (A) that purport to give any party a right or option to effect a setoff or recoupment against,

or a right or option to effect any forfeiture, modification, profit sharing interest, right of first

refusal, purchase or repurchase right or option, or termination of, any of the Trustee’s or the

Purchaser’s interests in the Purchased Assets, or any similar rights, if any, or (B) in respect of

taxes, restrictions, rights of first refusal, charges of interests of any kind or nature, if any, including

without limitation, any restriction of use, voting, transfer, receipt of income, or other exercise of

any attribute of ownership) (collectively, as defined in this clause (ii), the “Claims” and, together

with the Liens and other interests of any kind or nature whatsoever (the “Interests”), relating to,

accruing or arising any time prior to the entry of this Sale Order, with the exception of the Assumed

Liabilities (as defined in the Transaction Documents) to the extent set forth herein and in the

Transaction Documents, and any covenants set forth in the Transaction Documents, but with all

such Claims, Liens, and Interests to attach to the proceeds of the Sale.

                                      Section 363(f) Is Satisfied

        S.      The conditions of section 363(f) of the Bankruptcy Code have been satisfied in full;

therefore, the Trustee may sell the Purchased Assets free and clear of any Interests in the Purchased

Assets other than any Assumed Liabilities.

        T.      The Purchaser would not have entered into the Transaction Documents, and would

not consummate the Sale, if the Sale of the Purchased Assets to the Purchaser and the assumption

of any Assumed Liabilities by the Purchaser were not free and clear of all Interests, other than the

Assumed Liabilities, or if the Purchaser would, or in the future could, be liable for any of such

Interests (other the Assumed Liabilities). Unless otherwise expressly included in the Assumed

Liabilities, the Purchaser shall not be responsible for any Interests against the Debtor, its estate, or
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any of the Purchased Assets, including in respect of the following: (a) any labor or employment

agreement; (b) all mortgages, deeds of trust, and other security interests; (c) intercompany loans

and receivables among the Debtor and any of its affiliates (as defined in section 101(2)) of the

Bankruptcy Code; (d) any other environmental, employee, workers’ compensation, occupational

disease, or unemployment- or temporary disability-related claim, including, without limitation,

claims that might otherwise arise under or pursuant to: (i) the Employee Retirement Income

Security Act of 1974, as amended; (ii) the Fair Labor Standards Act; (iii) Title VII of the Civil

Rights Act of 1964; (iv) the Federal Rehabilitation Act of 1973; (v) the National Labor Relations

Act; (vi) the Worker Adjustment and Retraining Notification Act of 1988; (vii) the Age

Discrimination and Employee Act of 1967 and the Age Discrimination in Employment Act, as

amended; (viii) the Americans with Disabilities Act of 1990; (ix) the Consolidated Omnibus

Budget Reconciliation Act of 1985; (x) state discrimination laws; (xi) the unemployment

compensation laws or any other similar state laws; (xii) any other state or federal benefits or claims

relating to any employment with the Debtor or its predecessor, if any; (xiii) Claims or Liens arising

under any Environmental Law (as defined in the Transaction Documents) with respect to the

Debtor’s business, (xiv) any Liability (as defined in the Transaction Documents) other than the

Assumed Liabilities, relating to the Purchased Assets, the Excluded Purchased Assets (as defined

in the Transaction Documents), or any other assets owned or operated by the Trustee or any

corporate predecessor of the Debtor, at any time prior to the Closing Date; (xv) any bulk sales or

similar law; (xvi) any tax statutes or ordinances, including, without limitation, the Internal

Revenue Code of 1986, as amended; and (xvii) any statutory or common-law bases for successor

liability.



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        U.      The Trustee may sell the Purchased Assets free and clear of all Interests in such

property of any entity, including, without limitation, any Liens and Claims against the Debtor, its

estate, or any of the Purchased Assets (other than the Assumed Liabilities) because, in each case,

one or more of the standards set forth in section 363(f)(1)-(5) of the Bankruptcy Code has been

satisfied. Those holders of Interests in the Purchased Assets, including, without limitation, holders

of Liens and Claims against the Debtor, its estate, or any of the Purchased Assets, who did not

object, or who withdrew their objections, to the Sale or the Sale Motion are deemed to have

consented pursuant to section 363(f)(2) of the Bankruptcy Code, and such holders, and all other

holders of Interests (except to the extent such Interests are Assumed Liabilities), are protected by

having their Interests, if any, attach to the net proceeds of the Sale ultimately attributable to the

Purchased Assets in which such party alleges an Interest, in the same order of priority, with the

same validity, force, and effect that such Interests had prior to the Sale, subject to any claims and

defenses the Trustee or the Debtor and its estate may possess with respect thereto.

                                Sound Business Purpose for the Sale

        V.      As discussed above, good and sufficient reasons for approval of the Transaction

Documents and the Sale have been articulated. The relief requested in the Sale Motion is in the

best interests of the Debtor, its estate, its creditors, and other parties in interest.

        W.      The Trustee has demonstrated good, sufficient, and sound business purposes and

justifications for approving the Transaction Documents and that the immediate consummation of

the Sale to the Purchaser is necessary and appropriate to maximize the value of the Debtor’s estate.

                        Compelling Circumstances for an Immediate Sale

        X.      To maximize the value of the Purchased Assets and preserve the viability of the

business to which the Purchased Assets relate, it is essential the Sale of the Purchased Assets occur
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promptly. Therefore, time is of the essence in effectuating the Transaction Documents and

consummating the Sale. As such, the Trustee and the Purchaser intend to close the Sale of the

Purchased Assets as soon as reasonably practicable. The Trustee has demonstrated compelling

circumstances and a good, sufficient and sound business purpose and justification for immediate

approval and consummation of the Transaction Documents. Accordingly, there is sufficient cause

to waive the stay provided in Bankruptcy Rules 6004(h) and 6006(d).

       Y.      Given all of the circumstances of this Chapter 7 Case and the adequacy and fair

value of the Purchase Price under the Transaction Documents, the proposed Sale of the Purchased

Assets to the Purchaser constitutes a reasonable and sound exercise of the Trustee’s business

judgment and should be approved.

       Z.      The consummation of the Sale is legal, valid, and properly authorized under all

applicable provisions of the Bankruptcy Code, including, without limitation sections 105(a),

363(b), 363(f), and 363(m) of the Bankruptcy Code, and all of the applicable requirements of such

sections have been complied with in respect of the Sale.

       AA.     The Sale does not impermissibly restructure the rights of any of the Debtor’s

creditors. Further, nothing in this Order is approving any distribution that would be inconsistent

with the Bankruptcy Code’s priority scheme, including the timing and/or amount of money to be

paid to creditors in any future plan.

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

THAT:

                                        General Provisions.

       1.      Relief Granted. The relief requested in the Sale Motion and the Sale contemplated

thereby and by the Transaction Documents are approved for the reasons set forth in this Sale Order
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and on the record of the Sale Hearing, which is incorporated herein as if fully set forth in this Sale

Order.

         2.     Objections Overruled. Any objections, statements, and reservations of rights to

the Sale Motion and the relief requested therein that have not been withdrawn, waived, or settled

by announcement to the Court during the Sale Hearing, by agreed language and protections set

forth in this Sale Order, or by stipulation filed with the Court, including, without limitation, any

and all reservations of rights included in such objections or otherwise, are hereby denied and

overruled on the merits, with prejudice. Those parties who did not object, or withdrew their

objections, to the Sale Motion are deemed to have consented pursuant to section 363(f)(2) of the

Bankruptcy Code.

                   Approval of the Transaction Documents; Binding Nature

         3.     Transaction Documents Approved. The Transaction Documents, and all of the

terms and conditions thereof, are hereby approved.

         4.     Fair Value. The consideration provided by the Purchaser for the Purchased Assets

under the Transaction Documents is fair and reasonable and shall be deemed for all purposes to

constitute reasonably equivalent value, fair value, and fair consideration under the Bankruptcy

Code, the Uniform Fraudulent Transfer Act, the Uniform Voidable Transactions Act, the Uniform

Fraudulent Conveyance Act, and any other applicable law, and the Sale may not be avoided or

rejected by any person, or costs or damages imposed or awarded against the Purchaser or any

Purchaser Party, under section 363(n) of the Bankruptcy Code or any other provision of the

Bankruptcy Code.

         5.     Authorization to Consummate Sale.           Pursuant to §§ 105 and 363 of the

Bankruptcy Code, the Trustee is authorized and empowered to, and shall, take any and all actions
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necessary or appropriate to: (a) consummate the Sale pursuant to and in accordance with the terms

and conditions of the Transaction Documents and otherwise comply with the terms of this Sale

Order; and (b) execute and deliver, perform under, consummate, implement, and take any and all

other acts or actions as may be reasonably necessary or appropriate to the performance of their

obligations as contemplated by the Transaction Documents, in each case without further notice to

or order of this Court. The Purchaser shall not be required to seek or obtain relief from the

automatic stay under section 362 of the Bankruptcy Code to enforce any of its remedies under any

Transaction Document. The automatic stay imposed by section 362 of the Bankruptcy Code is

modified solely to the extent necessary to implement the preceding sentence and the other

provisions of this Sale Order; provided, however, that this Court shall retain exclusive jurisdiction

over any and all disputes with respect thereto.

       6.      Binding Nature. This Sale Order shall be binding in all respects upon the Trustee,

the Debtor, its estate, all creditors, all holders of equity interests in the Debtor, all holders of any

Claim(s) (whether known or unknown) against the Debtor, all holders of Interests (whether known

or unknown) against, in or on all or any portion of the Purchased Assets, the Purchaser, and all

successors and assigns of the foregoing.

                 Transfer of the Purchased Assets Free and Clear of Interests

       7.      Transfer of the Purchased Assets Authorized. Pursuant to sections 105(a),

363(b), and 363(f) of the Bankruptcy Code, the Trustee is authorized and directed to: (a) take any

and all actions necessary or appropriate to perform, consummate, implement, and close the Sale in

accordance with the terms and conditions set forth in the Transaction Documents and this Sale

Order; and (b) take all further actions and execute and deliver the Transaction Documents and any

and all additional instruments and documents that may be necessary or appropriate to implement
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the Transaction Documents and consummate the Sale in accordance with the terms thereof, all

without further order of the Court. At Closing, all of the Trustee’s right, title, and interest in and

to, and possession of, the Purchased Assets shall be immediately vested in the Purchaser (or its

designee). Such transfer shall constitute a legal, valid, enforceable, and effective transfer of the

Purchased Assets.

       8.      Surrender of Purchased Assets by Third Parties. All persons and entities that

are in possession of some or all of the Purchased Assets on the Closing Date are directed to

surrender possession of such Purchased Assets to the Purchaser or its designee at the Closing. On

the Closing Date, each of the Debtor’s creditors are authorized and directed to execute such

documents and take such other actions as may be reasonably necessary to release their Interests in

the Purchased Assets, if any, as such Interests may have been recorded or may otherwise exist.

All persons are hereby forever prohibited and enjoined from taking any action that would adversely

affect or interfere with, or which would be inconsistent with, the ability of the Trustee to sell and

transfer the Purchased Assets to the Purchaser in accordance with the terms of the Transaction

Documents and this Sale Order.

       9.      Transfer Free and Clear of Interests. Upon the Trustee’s receipt of the Purchase

Price, and other than the Assumed Liabilities specifically set forth in the Transaction Documents,

the transfer of the Purchased Assets to the Purchaser shall be free and clear of all Interests of any

kind or nature whatsoever, including, without limitation: (a) successor or successor-in-interest

liability, (b) Claims in respect of the Excluded Liabilities, and (c) any and all Contracts not

assumed and assigned to the Purchaser pursuant to the terms of the Transaction Documents, with

all such Interests to attach to the net proceeds received by the Trustee ultimately attributable to the

Purchased Assets against, or in, which such Interests are asserted, subject to the terms thereof, with
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the same validity, force, and effect, and in the same order of priority, which such Interests now

have against the Purchased Assets, subject to any rights, claims, and defenses that the Trustee, the

Debtor or its estate, as applicable, may possess with respect thereto

       10.     Legal, Valid, and Marketable Transfer with Permanent Injunction. The

transfer of the Purchased Assets to the Purchaser pursuant to the Transaction Documents

constitutes a legal, valid, and effective transfer of good and marketable title of the Purchased

Assets, and vests, or will vest, the Purchaser with all right, title, and interest to the Purchased

Assets, free and clear of all Interests (other than Assumed Liabilities), except as otherwise

expressly stated as obligations of the Purchaser under the Transaction Documents. With the

exception of holders of Assumed Liabilities, all Persons holding Interests or Claims of any kind

or nature whatsoever against the Trustee, the Debtor, the Purchased Assets, the operation of the

Purchased Assets prior to the Closing Date or the Sale are hereby and forever barred, estopped,

and permanently enjoined from asserting against the Purchaser, its successors or assigns, its

property, or the Purchased Assets, any Claim, Interest, or liability existing, accrued, or arising prior

to the Closing, except a right of setoff exercised prepetition.

       11.     Recording Offices and Releases of Interests. On the Closing Date, this Sale

Order shall be construed and shall constitute for any and all purposes a full and complete

assignment, conveyance, and transfer of the Purchased Assets or a bill of sale transferring good

and marketable title of the Purchased Assets to the Purchaser. This Sale Order is and shall be

effective as a determination that, on the Closing Date, all Interests of any kind or nature whatsoever

existing as to the Purchased Assets prior to the Closing, other than the Assumed Liabilities, or as

otherwise provided in this Sale Order, shall have been unconditionally released, discharged, and

terminated, and that the conveyances described herein have been affected. This Sale Order is and
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shall be binding upon and govern the acts of all Persons, including, without limitation, all filing

agents, filing officers, title agents, title companies, recorders of mortgages, recorders of deeds,

registrars of deeds, administrative agencies, governmental departments, secretaries of state, federal

and local officials, and all other persons who may be required by operation of law, the duties of

their office, or contract, to accept, file, register or otherwise record or release any documents or

instruments, or who may be required to report or insure any title or state of title in or to any lease;

and each of the foregoing persons is hereby directed to accept for filing any and all of the

documents and instruments necessary and appropriate to consummate the transactions

contemplated by the Transaction Documents.             Each and every federal, state, and local

governmental agency or department is hereby directed to accept any and all documents and

instruments necessary and appropriate to consummate the Sale. A certified copy of this Sale Order

may be: (a) filed with the appropriate clerk; (b) recorded with the recorder; and/or (c) filed or

recorded with any other governmental agency to act to cancel any Interests against the Purchased

Assets, other than the Assumed Liabilities.

       12.     Cancellation of Third-Party Interests. If any Person which has filed statements

or other documents or agreements evidencing Interests on or in all or any portion of the Purchased

Assets (other than with respect to the Assumed Liabilities) has not delivered to the Trustee prior

to the Closing, in proper form for filing and executed by the appropriate parties, termination

statements, instruments of satisfaction, releases of liens and easements, and any other documents

necessary for the purpose of documenting the release of all Interests which such person or entity

has or may assert with respect to all or a portion of the Purchased Assets, the Trustee and the

Purchaser are authorized to execute and file such statements, instruments, releases and other

documents on behalf of such Person with respect to the Purchased Assets. Notwithstanding the
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foregoing, the provisions of this Sale Order authorizing the transfer of the Purchased Assets free

and clear of all Interests (except only for the Assumed Liabilities) shall be self-executing, and it

shall not be, or be deemed, necessary for any Person to execute or file releases, termination

statements, assignments, consents, or other instruments in order for the provisions of this Sale

Order to be implemented.

       13.     No Further Trustee or Debtor Liability. Except as provided in the Transaction

Documents or in this Sale Order, after the Closing, the Trustee, the Debtor and its estate shall have

no further liabilities or obligations with respect to any Assumed Liabilities, and all holders of such

Claims are forever barred and estopped from asserting such Claims against the Trustee, the Debtor,

its successors or assigns, its property, or the Debtor’s estate.

                          Prohibition of Actions Against the Purchaser

       14.     No Successor Liability. Except for the Assumed Liabilities set forth in the

Transaction Documents, the Purchaser shall not have any liability or other obligation of the

Trustee, the Debtor or its estate arising under or related to any of the Purchased Assets. Without

limiting the generality of the foregoing, and except as otherwise expressly provided herein or in

the Transaction Documents, the Purchaser shall not be liable for any Claims against the Trustee,

the Debtor, or any of its predecessors or affiliates, and the Purchaser shall have no successor or

vicarious liabilities of any kind or character, including, without limitation, under any theory of

antitrust, environmental, successor, or transfer liability, labor law, de facto merger, mere

continuation, or substantial continuity, whether known or unknown as of the Closing Date, now

existing, or hereafter arising, whether fixed or contingent, whether asserted or unasserted, whether

legal or equitable, whether liquidated or unliquidated, including, without limitation, liabilities on

account of warranties, intercompany loans, environmental liabilities, and any taxes arising,
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accruing, or payable under, out of, in connection with, or in any way relating to the operation of

any of the Purchased Assets prior to the Closing.

       15.     Except as expressly provided in the Transaction Documents or this Sale Order with

respect to the Purchaser, no Purchaser Party shall have any liability whatsoever with respect to the

Debtor’s respective businesses or operations or any of the Debtor’s obligations based, in whole or

in part, directly or indirectly, on any theory of successor or vicarious liability of any kind of

character, or based upon any theory of antitrust, environmental, successor, or transferee liability,

de facto merger or substantial continuity, labor and employment or products liability, whether

known or unknown as of the Closing, now existing or hereafter arising, asserted or unasserted,

fixed or contingent, liquidated or unliquidated, including, without limitation, liabilities on account

of: (a) any taxes arising, accruing, or payable under, out of, in connection with, or in any way

relating to the Purchased Assets or the Assumed Liabilities prior to the Closing or in respect of

pre-Closing periods; or (b) any plan, agreement, practice, policy, or program, whether written or

unwritten, providing for pension, retirement, health, welfare, compensation, or other employee

benefits which is or has been sponsored, maintained, or contributed to by any Debtor or with

respect to which any Debtor has any liability, whether or not contingent, including, without

limitation, any “multiemployer plan” (as defined in Section 3(37) of ERISA) or “pension plan” (as

defined in Section 3(2) of ERISA) to which the Debtor has at any time contributed, or had any

obligation to contribute. Except to the extent expressly included in the Assumed Liabilities with

respect to the Purchaser or as otherwise expressly set forth in the Transaction Documents or this

Sale Order, no Purchaser Party shall have any liability or obligation under any applicable law,

including, without limitation: (a) the WARN Act, 29 U.S.C. §§ 2101 et seq.; (b) the

Comprehensive Environmental Response Compensation and Liability Act; (c) the Age
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Discrimination and Employment Act of 1967 (as amended); (d) the Federal Rehabilitation Act of

1973 (as amended); (e) the National Labor Relations Act, 29 U.S.C. §§ 151 et seq.; or (f) any

foreign, federal, state, or local labor, employment or environmental law, by virtue of the

Purchaser’s purchase of the Purchased Assets, assumption of the Assumed Liabilities, or hiring of

certain employees of the Debtor pursuant to the terms of the Transaction Documents. Without

limiting the foregoing, no Purchaser Party shall have any liability or obligation with respect to any

environmental liabilities of the Debtor or any environmental liabilities associated with the

Purchased Assets except to the extent they are Assumed Liabilities set forth in the Transaction

Documents.

       16.     Actions Against the Purchaser Enjoined. Except with respect to the Assumed

Liabilities set forth in the Transaction Documents, all Persons, including, without limitation, all

debt security holders, equity security holders, governmental, tax, and regulatory authorities,

lenders, trade creditors, litigation claimants, and other creditors, holding Interests of any kind or

nature whatsoever against, or in, all or any portion of the Purchased Assets, arising under, out of,

in connection with, or in any way relating to, the Trustee, the Debtor, the Purchased Assets, the

operation of the Debtor’s businesses prior to the Closing Date, or the transfer of the Purchased

Assets to the Purchaser, hereby are forever barred, estopped, and permanently enjoined from

asserting against the Purchaser, the Purchaser Parties, or any of their affiliates, successors, or

assigns, or their property or the Purchased Assets, such persons’ or entities’ Interests in and to the

Purchased Assets, including, without limitation, the following actions against the Purchaser or its

affiliates, or their successors, assets, or properties: (a) commencing or continuing in any manner

any action or other proceeding, whether in law or equity, in any judicial, administrative, arbitral,

or other proceeding; (b) enforcing, attaching, collecting, or recovering in any manner any
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judgment, award, decree, or other order; (c) creating, perfecting, or enforcing any Lien or other

Claim; (d) asserting any set off (except a set off exercised prepetition) or right of subrogation of

any kind; (e) commencing or continuing any action, in any manner or place, that does not comply

or is inconsistent with the provisions of this Sale Order or other orders of this Court, or the

agreements or actions contemplated or taken in respect thereof; or (f) revoking, terminating, or

failing or refusing to transfer or renew any license, permit, or authorization to operate any of the

Purchased Assets or conduct any of the business operated with the Purchased Assets.

                                          Other Provisions

        17.     Effective Immediately. For cause shown, pursuant to Bankruptcy Rules 6004(h),

6006(d), and 7062(g), this Sale Order shall not be stayed and shall be effective immediately upon

entry, and the Trustee and the Purchaser are authorized to close the Sale immediately upon entry

of this Sale Order. The Trustee and the Purchaser may consummate the Transaction Documents

at any time after entry of this Sale Order by waiving any and all closing conditions set forth in the

Transaction Documents that have not been satisfied and by proceeding to close the Sale without

any notice to the Court, any pre-petition or post-petition creditor of the Debtor and/or any other

party in interest.

        18.     Access to Books and Records. Following the Closing of the Sale, the Trustee shall

have, and the Purchaser shall provide, reasonable access to the Debtor’s books and records, to the

extent they are included in the Purchased Assets transferred to the Purchaser as part of the Sale as

set forth in the Transaction Documents, provided the Purchaser’s cooperation under the terms of

this section shall be at no cost to the Purchaser.

        19.     Bulk Sales Law. No bulk sales law or any similar law of any state or other

jurisdiction applies in any way to the Sale.
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          20.     Agreement Approved in Entirety.        The failure specifically to include any

particular provision of the Transaction Documents in this Sale Order shall not diminish or impair

the effectiveness of such provision, it being the intent of this Court that the Transaction Documents

be authorized and approved in their entirety.

          21.     Further Assurances. From time to time, as and when requested, all parties shall

execute and deliver, or cause to be executed and delivered, all such documents and instruments

and shall take, or cause to be taken, all such further or other actions as the requesting party may

reasonably deem necessary or desirable to consummate the Sale, including such actions as may be

necessary to vest, perfect, or confirm or record or otherwise in the Purchaser its right, title, and

interest in and to the Purchased Assets.

          22.     Modifications to Transaction Documents. The Transaction Documents may be

modified, amended, or supplemented by the parties thereto and in accordance with the terms

thereof, in a writing signed by such parties, without further order of this Court, provided any such

modification, amendment or supplement does not have a material adverse effect on the Debtor’s

estate.

          23.     Authorization to Effect Order. The Trustee is authorized to take all actions

necessary to effect the relief granted pursuant to this Sale Order in accordance with the Sale

Motion.

          24.     Automatic Stay. The automatic stay pursuant to Bankruptcy Code § 362 is hereby

modified, lifted, and annulled with respect to the Trustee and the Purchaser solely to the extent

necessary, without further order of this Court, to: (a) allow the Purchaser to deliver any notice

provided for in the Transaction Documents; and (b) allow the Purchaser to take any and all actions

permitted under the Transaction Documents in accordance with the terms and conditions thereof.
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The Purchaser shall not be required to seek or obtain relief from the automatic stay under section

362 of the Bankruptcy Code to enforce any of its remedies under the Transaction Documents. The

automatic stay imposed by section 362 of the Bankruptcy Code is modified solely to the extent

necessary to implement the preceding sentence, provided, however, that this Court shall retain

exclusive jurisdiction over any and all disputes with respect thereto.

         25.     Order to Govern. To the extent this Sale Order is inconsistent with any prior order

entered or pleading filed in this Chapter 7 Case, the terms of this Sale Order shall govern. To the

extent there are any inconsistencies between the terms of this Sale Order and the Transaction

Documents, the terms of this Sale Order shall govern.

         26.     Standing. The Purchaser has standing to seek to enforce the terms of this Sale

Order.

         27.     Retention of Jurisdiction. This Court shall retain jurisdiction with respect to the

terms and provisions of this Sale Order and the Transaction Documents.




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                    Exhibit 1 to Sale Order

                Asset Purchase Agreement
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